Case 4:20-cv-05640-YGR   Document 1382-2   Filed 03/24/25   Page 1 of 2




                  EXHIBIT A
                  (Redacted)
                                                                                       Case 4:20-cv-05640-YGR                                                                 Document 1382-2                                                                  Filed 03/24/25                               Page 2 of 2
                                                                                                                                                                                      Privilege Log Entries

                                                                                                                                                                                                                                                                                                                                                                             Special Master
Bates Number of          Production                                                                                                                                                                                                                                                                                                  Attorneys, Legal Staff, and Employees   Determinations (Priv - Yes;
Document        Number   Beginning Bates   Production End Bates   Custodians DocDate        DocTime    From           To                 Cc                          Bcc   Subject               OriginalName             Redact or Withold   Privilege Type         Privilege Description            Additional Privilege Context   acting at the direction of counsel      Priv - No)
Emails Primarily Involving Non-Legal Personnel
                                                                                                                                         Brendan McNAMARA

                                                                                                                                              ; Ling LEW

                                                                                                                                         Timothy Kim                                                                                                                 Email chain with redacted text
                                                                                                                                                            ;                                                                                                        providing legal advice from
                                                                  Wilder,                              Jeff Wilder    Charles Paillard   Sascha Schubert                   Re: (DMA) 5(4)        20231130-1317 Re:                                                   counsel regarding developer
PRIV-APL-                PRIV-APL-         PRIV-APL-              Jeff; Kim,                                                                                               follow-up with        (DMA) 5(4) follow-up                                                outreach related to U.S. Link
EG_00086914      1650    EG 00086914       EG 00086919            Timothy      2023-11-30   21:17:14                                                                       Timo                  with Timo.eml            Redact              AttorneyClient         Entitlement.                                                    Ling Lew (Apple in-house counsel) YES
                                                                                                                                                                                                                                                                     Email chain with redacted text
                                                                                                                                         Fred Sainz                                                                                                                  providing information for the
                                                                  Oliver,                                             Ann Thai                              Carson                                                                                                   purpose of obtaining legal
                                                                  Carson;                                                                Oliver                                                                                                                      advice from counsel regarding
                                                                  Thai, Ann;                                           ; Sean Cameron                            ;                               20220311-0956 Re:                                                   injunction compliance press
PRIV-APL-                PRIV-APL-         PRIV-APL-              Kim,                                 Isaac Rubin                       Timothy Kim                       Re: “Download         “Download with                                                      and communications legal                                        Document provided for the
EG_00087094      1672    EG 00087094       EG 00087107            Timothy    2022-03-11     17:56:46                                                                       with PS”              PS”.eml                  Redact              AttorneyClient         strategy.                                                       purpose of obtaining legal advice       YES
Email Seeking Approval from Business Executives
                                                                                                                      Jen Brown          Trystan Kosmynka                  Re: Epic
                                                                  Oliver,                                                                                                  injunction (Project                                                                       Email chain with redacted text
                                                                  Carson;                                                    ; Ling      Ann Thai                          Wisconsin) --         20230528-1209 Re:                                                   reflecting legal advice from                                    Sean Cameron (Apple in-house
                                                                  Kosmynka,                            Sean Cameron   Yang Lew                              ;              rules for             Epic injunction                                                     counsel regarding injunction                                    counsel); Ling Lew (Apple in-
PRIV-APL-                PRIV-APL-         PRIV-APL-              Trystan;                                                               Carson Oliver                     entitlement           (Project Wisconsin) --                                              compliance requirements for                                     house counsel); Jennifer Brown
EG_00255622      10814   EG 00255622       EG 00255626            Thai, Ann 2023-05-28      19:09:31                                                                       agreement             rules for entitle.eml    Redact              AttorneyClient         link format and buttons                                         (Apple in-house counsel)                YES
